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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION
                                                      §
   In re:                                             §     CASE NO. 18-40270-elm11
                                                      §
   TENET CONCEPTS, LLC,                               §
                                                      §
                                                      §
                          Debtor.                     §     Chapter 11 Case


     OBJECTION TO PLAN OF REORGANIZATION AND DISCLOSURE STATEMENT
        FILED BY WILLIE MUKES AND SIMILARLY SITUATED EMPLOYEES

       Willie J. Mukes (“Mukes”), for himself and for similarly situated Tenet Concepts, LLC

employees, including, but not limited to, Barney Johnson, Derrick Abram, Donnie Trotter, Shamicha

Cummings, Nakwisha Miller, Felicia Journet, Dominique Mays, and Leticia Spencer and Valarie Miller

(collectively “Drivers”) files this Objection to confirmation of the Plan of Reorganization (the “Plan,”

Dkt. 142) and final approval of the Disclosure Statement (the “Statement,” Dkt. 143). The Plan and

Statement fail to fully pay Drivers’ claims and otherwise prejudice their rights. Accordingly, Drivers

lodge the following objections to the Plan and Statement.

       1. Drivers Object to Section 4.4 of the Plan

       Section 4.4(a) of the Plan mistakenly claims that “Debtor has agreed to indemnify Amazon for

the Claims asserted against Amazon in the Lines Lawsuit.” In fact, the indemnification agreement “does

not apply to the extent that any claim subject to indemnification results from the negligence or willful

misconduct of” Amazon. Section 4.4.(a) of the Plan is thus objectionable to the extent that it goes

beyond Debtor’s indemnification obligations and purports to pay Amazon’s claim even for elements of

the Lines Lawsuit that are not covered by the indemnification clause. By allowing this overbroad

Amazon claim, the Plan prejudices Drivers and other creditors.
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       2. Drivers Object to Section 4.7(a) of the Plan

       Section 4.7 of the Plan deals with claims based upon the claims asserted in the Mukes Lawsuit.

Section 4.7(a) provides that “[n]o collective proof of claim shall be recognized as to any member of

Class 7” and that “[e]ach Creditor asserting a class 7 Claim must file an appropriate proof of claim on or

before the Bar Date.” The Mukes Lawsuit expressly seeks collective damages for any Driver that opts in

according to the procedures set forth in the Fair Labor Standards Act. As explained in detail in Drivers’

response to Debtor’s Objection to Claim Number 13 (Dkt. 170), which Drivers incorporate fully herein,

the notice of the bankruptcy and the opportunity to file a claim in bankruptcy is not an adequate

substitute for a notice of a pending collective action under the FLSA and an opportunity to opt in. The

Mukes Litigation was stayed prior to the notice being sent under the FLSA. Nonetheless, the nine

drivers listed by name above filed their notices in the Mukes lawsuit and opted into it. This Court can

approve an adequate FLSA notice to Drivers who potentially have collective claims in the Mukes

Lawsuit. To disallow all collective claims through the Plan would be inequitable absent “timely,

accurate, and informative” notice of the Drivers’ FLSA claims. See Hoffmann-La Roche Inc. v. Sperling,

493 U.S. 165, 172 (1989).

       3. Drivers Object to Section 4.7(b) of the Plan

       Drivers object to the seventy-nine (79) month installment payment term for Mukes Lawsuit

Claims provided in Section 4.7(b) of the Plan. This payment term is unreasonably long and inequitable

in light of Section 4.4(a) making Amazon’s claims payable in monthly installments “as may be agreed

between the Debtor and Amazon.”

       4. Drivers Object to the Statement’s Characterizations and Estimates of their Claims.

       Drivers object to the Statement’s estimate of the Mukes Lawsuit Claims as belonging only to one

driver (Willie Mukes) and being valued in the range of $0-$21,200. The amounts of the Mukes Lawsuit

Claims against Debtor will ultimately be decided by the Court through the claims process. As described
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in Drivers’ responses to Debtor’s objections to their proofs of claims (Dkt. 170), which Drivers

incorporate fully herein, the Class 7 Mukes Lawsuit Claims include both Mukes’ individual claims for

$21,200 and collective claims in amounts well in excess of $21,200.

                                           CONCLUSION

       For the foregoing reasons, the Drivers respectfully request that the Court sustain the foregoing

objections to the Plan and Statement and that the Court not approve any Plan of Reorganization that

either (i) imposes liability on Debtor beyond the scope of its indemnification obligations to Amazon; or

(ii) rejects Drivers’ claims without adequate adversary process, FLSA Notice, and discovery.

Dated: December 14, 2018                    Respectfully submitted,
Austin, Texas


                                            Jay D. Ellwanger
                                            Texas State Bar No. 24036522
                                            jellwanger@equalrights.law
                                            Holt Major Lackey
                                            Texas State Bar No. 24047763
                                            hlackey@equalrights.law
                                            Ellwanger Law LLLP
                                            8310-1 N. Capital of Texas Hwy.
                                            Suite 190
                                            Austin, Texas 78731
                                            (737) 808-2262 (phone)
                                            (737) 808-2260 (fax)

                                            OF COUNSEL:

                                            Robert J. Valli, Jr.
                                            Sara Wyn Kane
                                            James Vagnini
                                            Valli Kane & Vagnini, LLP
                                            600 Old Country Road, Suite 519
                                            Garden City, New York 11530
                                            (516) 203-7180 (phone)
                                            (516) 706-0248 (fax)
                                            John Bruster Loyd
                                            SDTX ID. No. 23240
                                            TX Bar No. 24009032

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                                  bruse@jgl-law.com
                                  Jones, Gillaspia & Loyd LLP
                                  4400 Post Oak Pkwy
                                  Suite 2360
                                  Houston, Texas 77027
                                  713.225.9000 Tel
                                  713.225.6126 Fax

                                  Joe M. Williams
                                  Federal ID. No. 997092
                                  TX Bar No. 24063066
                                  Jwilliams10050@gmail.com
                                  The Law Offices of Joe M. Williams & Associates,
                                  P.L.L.C.
                                  8866 Gulf Freeway, Suite 384
                                  Houston, Texas 77017
                                  713.980.8900 Tel
                                  713.400.1104 Fax

                                  ATTORNEYS FOR WILLIE J. MUKES




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                                    CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was served via ECF upon

any parties who have filed a notice of appearance on December 14, 2018. Additionally, a copy was

served on the following individuals via electronic mail:

                                           J. Robert Forshey
                                            Laurie Dahl Rea
                                      Forshey & Prostok, L.L.P.
                                     777 Main Street, Suite 1290
                                        Fort Worth, TX 76102
                                 Email: bforshey@forsheyprostok.com
                                   Email: lrea@forsheyprostok.com

                                          United States Trustee
                                   Attn: Erin Schmidt, Trial Attorney
                                   1100 Commerce Street, Room 976
                                           Dallas, TX 75242
                                    Email: erin.schmidt2@usdoj.gov


                                                     /s/ Jay D. Ellwanger
                                                     Jay D. Ellwanger




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